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Nicholas B. Clifford, Jr.

From:                                 Julie A. Sullivan
Sent:                                 Thursday, May 24, 2018 8:49 AM
To:                                   Nicholas B. Clifford, Jr.
Subject:                              FW: 35869-3 - IP-Echelon Pty., Ltd.


fyi




Armstrong Teasdale LLP
Julie A. Sullivan | Intellectual Property Litigation Specialist
314.621.5070 ext. 7435 | FAX: 314.621.5065

From: Carolina E. Mejia [mailto:MejiaC@CivilActionGroup.com]
Sent: Thursday, May 24, 2018 8:47 AM
To: Julie A. Sullivan
Subject: 35869-3 - IP-Echelon Pty., Ltd.

Good Morning Julie,

Latest Status: 5/23/2018 4:20 pm Attempted Service. JOHN DOE - LOBBY FRONT DESK - 30+YRS, M, BLK, 5'9", 180LBS,
BLK HAIR- DID NOT GRANT ME ACCESS & WOULD NOT PROVIDE ME ANY INFORMATION. I LEFT THE
DOCUMENTS WITH JOHN DOE - LOBBY FRONT

I will send you copy of DD, as soon as I get one over from our private server.

Thanks,

Carolina E. Mejia




Civil Action Group, Ltd.
APS International Plaza
7800 Glenroy Road
Minneapolis, MN 55439-3122
Email: MejiaC@civilactiongroup.com
Direct: 952-831-7776 x330
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